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                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA

KAREN PETERSON, ET AL                                   CIVIL ACTION

VERSUS                                                  NO. 07-7281

AEGIS SECURITY INSURANCE COMPANY                        SECTION B(2)




                              ORDER OF DISMISSAL

      The Court has been advised by counsel for the parties that all

of the parties to this action have firmly agreed upon a compromise,

and assured that they need only to obtain final authority from

principals, execute releases and agreements.             Accordingly,

      IT IS ORDERED that this action hereby is DISMISSED without

cost and without prejudice to the right of the parties, upon good

cause shown, within sixty (60) days, to seek summary judgment

enforcing the compromise if it is not consummated by that time.

The   Court   retains      jurisdiction   over   this    action      to   enforce

settlement    if   not    timely   consummated   or     if   final   settlement

authority is not obtained, provided a motion to enforce the

settlement or, alternatively, a motion to extend this period is

filed within 60 days from entry of this order.

      PARTIES ARE WARNED THAT FAILURE TO TIMELY FILE A MOTION TO

ENFORCE SETTLEMENT SHALL DIVEST THIS COURT FROM HAVING SUBJECT

MATTER JURISDICTION OVER THE ACTION. WOOLWINE FORD LINCOLN MERCURY
    Case 2:07-cv-07281-ILRL-JCW Document 50 Filed 03/11/09 Page 2 of 2



V. CONSOLIDATED FINANCIAL RESOURCES, INC., 245 F.3D 791 (5TH CIRCUIT

DECEMBER 27, 2000) (PER CURIAM) (UNPUBLISHED CIVIL ACTION NO.

00-60314).    PARTIES ARE FURTHER WARNED THAT FAILURE TO TIMELY

CONSUMMATE SETTLEMENT WITHIN THE SIXTY (60) DAY PERIOD SHALL LEAD

TO THE IMPOSITION OF SANCTIONS AGAINST THE PARTY(S) FAILING TO

COMPLY WITH THIS ORDER.

     COUNSEL ARE REMINDED THAT, IF WITNESSES HAVE BEEN SUBPOENAED,

EVERY WITNESS MUST BE NOTIFIED BY COUNSEL NOT TO APPEAR.

     IT IS FURTHER ORDERED that all pending motions are dismissed

as MOOT.

     New Orleans, Louisiana, this 10th day of March, 2009.




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                                               IVAN L.R. LEMELLE
                                         UNITED STATES DISTRICT JUDGE




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